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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

JENNIFER HASKINS,
ADMINISTRATOR OF ESTATE OF                    *
ERNEST HASKINS.                               *
                                              *
              Plaintiff,                      *
                                              *
v.                                            *            Civil No.: PJM 12-123
                                              *
WASHINGTON ADVENTIST                          *
HOSPITAL, INC.                                *
                                              *
              Defendant.                      *
                                              *

                                           ORDER

       Upon consideration of Defendant Washington Adventist Hospital’s Motion to Dismiss

the Amended Complaint [Docket No. 53] and Plaintiff Jennifer Haskins’s Opposition thereto,

and Mrs. Haskins’s Motion for Default Judgment [Docket No. 54], it is, for the reasons stated in

the accompanying Memorandum Opinion, this 23rd day of July, 2012

              ORDERED

              1.      The Hospital’s Motion to Dismiss the Amended Complaint [Docket No.

                      53] is GRANTED WITHOUT PREJUDICE;

              2.      Mrs. Haskins’s Motion for Default Judgment [Docket No. 54] is

                      DENIED; and

              3.      The Clerk of the Court is directed to CLOSE the case.




                                                     /s/            _
                                               PETER J. MESSITTE
                                         UNITED STATES DISTRICT JUDGE
